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Exhibit A
Notice of Intent

UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

In re: Chapter 11
Energy Future Holdings Corp., et al., Case No. 14-10979 (CSS)
Debtors, (Jointly Administered)

NOTICE OF INTENT TO PARTICIPATE IN
LEGACY DISCOVERY

NOTICE IS HEREBY GIVEN that , represented by
, is a party of interest in the above-captioned

chapter 11 cases (the “Chapter 11 Cases”).

Attached hereto is a list of all proof(s) of claim filed by this Proposed Participant, provided there
have not been any material changes to such proof(s) of claim since their filing, or a statement
setting forth the types and aggregate amount(s) of claim(s) currently held by this Proposed
Participant as against each of the Debtors.

ACCORDINGLY, PLEASE TAKE FURTHER NOTICE that, subject to any objections by the

Debtors or the Committee of Unsecured Creditors appointed in the Chapter 11 Cases and/or any

limitations imposed by the Court, the above-named party in interest and its counsel intends to

participate as follows in Legacy Discovery, as defined in the Order Establishing Discovery

Procedures in Connection with Legacy Discovery of Energy Future Holdings Corporation, its

Affiliates, and Certain Third Parties and Other Related Matters, entered by the Court on
[Docket No. _]:

Dated:

Contact Information for Party in Interest (address, phone and email):

Contact Information for Attorneys for Party in Interest (address, phone and email):

ny-1148279

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Contact Information for Advisors for Party in Interest (address, phone and email):

Designation of Contact(s) to Receive Any Notice(s) Required Under the Order (address,
phone and email):

By serving a Notice of Intent, I hereby confirm that I have read and agreed to abide by the terms
of the Confidentiality Agreement and Stipulated Protective Order, in the form as approved by the
Court.

I further hereby confirm that I will provide the Protective Order to any person that I employ or
engage who is given access to Legacy Discovery.

ny-1148279
